B6 Cover (Form 6 Cover) (12/07)




FORM 6. SCHEDULES

Summary of Schedules
Statistical Summary of Certain Liabilities


Schedule A           -    Real Property
Schedule B           -    Personal Property
Schedule C           -    Property Claimed as Exempt
Schedule D           -    Creditors Holding Secured Claims
Schedule E           -    Creditors Holding Unsecured Priority Claims
Schedule F           -    Creditors Holding Unsecured Nonpriority Claims
Schedule G           -    Executory Contracts and Unexpired Leases
Schedule H           -    Codebtors
Schedule I           -    Current Income of Individual Debtor(s)
Schedule J           -    Current Expenditures of Individual Debtor(s)

Unsworn Declaration under Penalty of Perjury


GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any amendments thereto must
contain a caption as in Form 16B. Subsequent pages should be identified with the debtor’s name and case number. If the
schedules are filed with the petition, the case number should be left blank.


Schedules D, E, and F have been designed for the listing of each claim only once. Even when a claim is secured only in part or
entitled to priority only in part, it still should be listed only once. A claim which is secured in whole or in part should be listed on
Schedule D only, and a claim which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list the
same claim twice. If a creditor has more than one claim, such as claims arising from separate transactions, each claim should
be scheduled separately.


Review the specific instructions for each schedule before completing the schedule.




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B6 Summary (Official Form 6 - Summary) (12/07)

                                                                United States Bankruptcy Court
                                                                  Eastern District of Wisconsin


In re   Netwurx, Inc.                                                                     ,
                                                                                                                Case No.    08-26131
                                                                 Debtor
                                                                                                                Chapter      11

                                                           SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims
from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of
Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.




        NAME OF SCHEDULE                       ATTACHED       NO. OF SHEETS                   ASSETS                       LIABILITIES                     OTHER
                                                (YES/NO)

 A - Real Property                               YES                       1        $                    0.00

 B - Personal Property                           YES                       3        $           1,504,771.18

 C - Property Claimed
     as Exempt                                   NO

 D - Creditors Holding                           YES                       3                                      $               522,088.08
     Secured Claims

 E - Creditors Holding Unsecured
     Priority Claims                             YES                       4                                      $                142,687.71
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                 YES                      13                                      $               1,222,873.34
     Nonpriority Claims

 G - Executory Contracts and                     YES                       4
     Unexpired Leases

 H - Codebtors                                   YES                       1

 I - Current Income of                                                                                                                             $
     Individual Debtor(s)                        NO                        0

 J - Current Expenditures of                     NO                        0
     Individual Debtor(s)                                                                                                                          $


                                                                          29        $           1,504,771.18      $            1,887,649.13
                                       TOTAL




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